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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                             CCO-093
                                      No. 23-8029

                        In re: FTX Trading Ltd., et al., Debtors

                 Andrew R. Vara, United States Trustee for Region 3,
                                     Petitioner

             (D. Del. No. 1-23-cv-00241 and Bankr D. Del. No. 22-11068)

Present: SHWARTZ, MATEY and PHIPPS, Circuit Judges

      1. Petition for Permission to Appeal pursuant to 28 U.S.C. Section 158(d)(2) filed
         by Petitioner Andrew R. Vara;

      2. Response by Respondent in Opposition for Permission to Appeal;

      3. Reply by Petitioner in Further Support of Petition.

                                                             Respectfully,
                                                             Clerk/sb

_________________________________ORDER________________________________
The foregoing Petition for Permission to Appeal pursuant to 28 U.S.C. Section 158(d)(2)
filed by Petitioner Andrew R. Vara is granted.

                                                             By the Court,

                                                             s/ Peter J. Phipps
                                                             Circuit Judge

Dated: July 18, 2023
Sb/cc: All Counsel of Record


                                   A True Copy:



                                  Patricia S. Dodszuweit, Clerk
